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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH


 KANE COUNTY, UTAH (2), (3), and (4), a Utah DEFENDANT UNITED STATES’
 political subdivision; and STATE OF UTAH,           NOTICE OF SUPPLEMENTAL
                                                     AUTHORITY
 Plaintiffs (or Plaintiff-Intervenor, as to State of
 Utah in Kane County (2)),                           Consolidated Case No. 2:10-cv-01073-CW

 v.                                                (Consolidated with Case Nos. 2:11-cv-
                                                   1031-CW and 2:12-cv-476-CW)
 UNITED STATES OF AMERICA,
                                                   Judge Clark Waddoups
 Defendant,

 and

 SOUTHERN UTAH WILDERNESS
 ALLIANCE, et al.,

 Defendant-Intervenors.
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       Pursuant to DUCivR 7-1(c), the United States submits this notice of supplemental

authority, to inform the Court of the Supreme Court’s recent decision in Wilkins v. United States,

598 U.S. --, 143 S.Ct. 870 (2023).

       In the United States’s Amended Motion to Dismiss [ECF No. 671] and Renewed Motion

to Dismiss [ECF No. 755], the United States characterized the Quiet Title Act’s disputed title

requirement and statute of limitations as jurisdictional. See Amended Motion to Dismiss [ECF

No. 671] at 1, 3, 8-11, 12 n.4, 14-15, 20-21; Renewed Motion to Dismiss [ECF No. 755] at 2.

       Wilkins held that the 12-year statute of limitation in the Quiet Title Act, 28 U.S.C. §

2409a(g) is not a jurisdictional time bar, but instead “is a non-jurisdictional claims-processing

rule.” 143 S.Ct. at 881.

       In light of Wilkins, the United States withdraws its arguments as being based on Fed. R.

Civ. P. 12(b)(1) for lack of jurisdiction. Instead, these arguments may be recast as arguments

under Fed. R. Civ. P. 12(b)(6) based on the Quiet Title Act’s claims-processing rules. The

substance of the United States’ arguments should otherwise remain unchanged.

       Respectfully submitted this 12th day of May, 2023,

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